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UNITED STATES DISTRICT COURT
FOR THE DISTRlCT OF COLUMBIA

M.M.M., on behalf of his minor child, J.M.A.,_
et al., !

CIVIL ACTION NO.
Plaintiffs,

Jefferson Beauregard Sessions, III, Attomey
General of the United States, et al.,

Defendants.

 

 

PLAINTIFFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION

Plaintiffs hereby move this Court, pursuant to Federal Rule of Civil Procedure 65(b) and
Local Rule 65.l to enter an immediate Temporary Restraining Order (“TRO") against
Defendants’ policy of removing children from the United States before permitting them the
opportunity seek asylum pursuant to their rights under the Immigration and Nationality Act
(“fNA”) (including 8 U.S.C. §§ l 158, 1225, or 1229a), the Fifth Amendment ofthe Constitution,
and the Mandamus Act (the “Policy”), pending a full hearing before this Court on, and this
Court’s adjudication of, Plaintiffs’ Motion for a Preliminary Injunction. Plaintiffs further move
this Court, pursuant to Federal Rule of Civil Procedure 65(a) and Local Rule 65.1, to preliminary
enjoin the Policy and order Defendants to provide all non-citizen children Who were separated

from their parents or guardians upon (or after) entry into the United States with their rights to

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petition for asylum under Section 240 and Section 235 of the INA following reunification with,
and in consultation with, their parents or guardians, until such proceedings are terminated

For the reasons more fully set forth in the accompanying Memorandum of Law in
Support of Plaintiffs’ Application for Temporary Restraining Order and Preliminary Injunction,
Plaintiffs are entitled to a temporary restraining order and a p reliminary injunction because (l)
they can demonstrate a substantial likelihood of success on the merits of their claims for a
permanent injunction against the Policy; for a declaratory judgment that the Policy violates the
INA, the Administrative Procedure Act, and the Fifth Amendment to the Constitution; andfor for
a Writ of Mandamus to compel Defendants to comply with the INA; (2) they will suffer
irreparable harm if they are removed from the United States without being provided with their
constitutional and statutory right to seek asylum; and (3) issuance of a temporary restraining
order and.f`or preliminary injunction is in the public interest and the balance of equities favors
Plaintiffs, because it protects Plaintiffs’ rights under the Fifth Amendment to the Constitution
and under the INA to pursue asylum based on Plaintiffs’ well-founded fear of persecution and
life-threatening violence in their country of origin.

Plaintiffs request a hearing on their Motion for Preliminary injunction pursuant to Local
Rule 7(f). For the reasons stated in the accompanying Motion to Request Expedited Hearing on
Plaintiffs’ Motion for Preliminary Injunction, Plaintiffs request a hearing on or before August 9,
2018.

Proposed orders and the certificate of counsel in accordance with Local Rule 65.1

accompany this Motion.

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Respectfully submitted,

Date:

July 27, 2018

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